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                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 15-29217-RAM
Sandra Colon                                                                                               Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: reynoldsm                    Page 1 of 1                          Date Rcvd: Nov 17, 2015
                                      Form ID: B9I                       Total Noticed: 5


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 19, 2015.
db             +Sandra Colon,   20301 NE 30 Ave #314,    Aventura, FL 33180-1517
tr             +Nancy K. Neidich,   www.ch13herkert.com,    POB 279806,   Miramar, FL 33027-9806
93286307       +Nationstar Mortgage LLC,   Shapiro Fishman & Gache LLP,    2424 North Federal Hwy #360,
                 Boca Raton FL 33431-7701

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: FLDEPREV.COM Nov 18 2015 00:48:00      Florida Department of Revenue,   POB 6668,
                 Bankruptcy Division,    Tallhassee, FL 32314-6668
ust            +E-mail/Text: USTPRegion21.MM.ECF@usdoj.gov Nov 18 2015 01:15:28      Office of the US Trustee,
                 51 S.W. 1st Ave.,    Suite 1204,   Miami, FL 33130-1614
                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 19, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 17, 2015 at the address(es) listed below:
              Nancy K. Neidich   e2c8f01@ch13herkert.com, ecf2@ch13herkert.com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
                                                                                            TOTAL: 2
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FORM B9I (Chapter 13 Case) (10/10/14)                                                                            Case Number 15−29217−RAM
                                                UNITED STATES BANKRUPTCY COURT
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
             Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors, Deadlines, & Court's Confirmation Procedures
A chapter 13 bankruptcy case concerning the debtor listed below was filed on 10/30/15. You may be a creditor of the debtor. This notice
lists important deadlines. You may want to consult an attorney to protect your rights. All documents filed in the case may be accessed
electronically via CM/ECF including at the public access terminals in every clerk's office. NOTE: The staff of the bankruptcy clerk's
office cannot give legal advice.
         Creditors − Do not file this notice in connection with any proof of claim you submit to the court.
           ** See Reverse Side For Important Explanations and SDFL Local Court Requirements. **
Debtor(s) name(s) and address(es) (for names include married, maiden and trade used by the debtor(s) in the last 8 years):
Sandra Colon
20301 NE 30 Ave #314
Aventura, FL 33180
Case Number:                                                            Last four digits of Social−Security or Individual Taxpayer−ID
15−29217−RAM                                                            (ITIN) No(s)./Complete EIN: xxx−xx−3091
Attorney for Debtor(s) (or Pro Se Debtor) name and address:             Bankruptcy Trustee (name and address):
Sandra Colon                                                            Nancy K. Neidich
20301 NE 30 Ave #314                                                    www.ch13herkert.com
Aventura, FL 33180                                                      POB 279806
                                                                        Miramar, FL 33027
                                                                        Telephone number: 954−443−4402

                                                MEETING OF CREDITORS
Date: December 10, 2015                                   Time: 01:30 PM
Location: Claude Pepper Federal Bldg, 51 SW First Ave Room 102, Miami, FL 33130
NOTE: Debtors must bring original government−issued photo identification and proof of the social security number (or, if
applicable, Tax ID) to this meeting.
WARNING TO DEBTOR: Debtors must commence plan payments within 30 days of filing the chapter 13 petition or conversion to
chapter 13. Without further notice or hearing the court may dismiss your case for failure to timely pay filing fee installments,
failure to appear at the meeting of creditors or failure to be current with plan payments at the time of the meeting of creditors, and
for failure to file a pre−bankruptcy certification of credit counseling or file wage documentation. The case may also be dismissed or
converted at the scheduled confirmation hearing if the court denies confirmation of the pending plan under 11 U.S.C. § 1325 and
denies a request made for additional time for filing another plan or a modification of a plan.
               CONFIRMATION HEARING ON CONTESTED PLAN:
Date: January 12, 2016            Time: 01:30 PM
Location: C. Clyde Atkins U.S. Courthouse, 301 North Miami Avenue, Courtroom 4, Miami, FL 33128
NOTE: Confirmation may occur at an earlier date. Please read the reverse side regarding important objection deadlines.

                                                               Deadlines:
                Documents submitted for filing must be received by the bankruptcy clerk's office by the following deadlines:
                                                 Deadline to File a Proof of Claim:
   For all creditors (except a governmental unit): 3/9/16        For a governmental unit: 4/27/16 , or as provided by 11 USC Sec. 502(b)(9),
                                                                                              whichever is later.
                                                     Creditor with a Foreign Address:
         A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                                                 Deadline to Object to Exemptions:
 30 days after the conclusion of the meeting of creditors or within 30 days of any amendment to the list or supplemental schedules, except as
                                                   provided under Local Rule 4003−1(B).
                      Deadline to Object to Confirmation and Attorney Fee Claims: See explanations on reverse.
                   Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 2/8/16

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor, the debtor's
property, and certain codebtors. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you
may be penalized. Consult a lawyer to determine your rights in this case.
Address of the bankruptcy clerk's office where assigned judge is
chambered:
US Bankruptcy Court
301 North Miami Avenue, Room 150
Miami, FL 33128
Telephone:(305)714−1800
Hours Open: Monday − Friday 8:30 AM − 4:00 PM                           Clerk of the Bankruptcy Court: Joseph Falzone
Closed all Legal Holidays                                               For: Judge Robert A Mark
                                                                        Date: 11/17/15
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                                                         EXPLANATIONS                                                       FORM B9I (10/10/14)


Filing of Chapter 13    A bankruptcy case under Chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case         court by the debtor listed on the front side (or the existing case under another chapter has been converted to chapter
                        13). Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
                        pursuant to a plan. A plan is not effective unless confirmed by the bankruptcy court. A copy of the plan is enclosed
                        and information about the confirmation hearing is indicated on the front of this notice and below in the "Deadline to
                        Object to Confirmation Section." The debtor will remain in possession of the debtor's property and may continue to
                        operate the debtor's business, if any, unless the court orders otherwise.

Creditors Generally  Prohibited collection actions against the debtor and certain codebtors are listed in Bankruptcy Code § 362 and §
May Not Take Certain 1301. Common examples of prohibited actions include contacting the debtor by telephone, mail or otherwise to
Actions              demand repayment; taking actions to collect money or obtain property from the debtor; repossessing the debtor's
                     property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                     certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court
                     to exceed or impose a stay.

Meeting of Creditors    A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                        in a joint case) must be present with required original government−issued photo identification and proof of the
                        social security number (or Tax ID, if applicable) at the meeting to be questioned under oath by the trustee and by
                        creditors. Creditors are welcome to attend, but are not required to do so. The meeting may be continued and
                        concluded at a later date specified in a notice filed with the court. As mandated by the Department of Homeland
                        Security, ALL visitors (except minors accompanied by an adult) to any federal building or courthouse, must present
                        a current, valid, government issued photo identification (e.g., drivers license, state identification card, passport, or
                        immigration card).

Claims                  A Proof of Claim is a signed statement describing a creditor's claim. A secured creditor retains rights in its collateral
                        regardless of whether that creditor files a Proof of Claim. If you do not file a Proof of Claim by the "Deadline to file
                        a Proof of Claim" listed on the front side, you might not be paid any money on your claim from other assets in the
                        bankruptcy case. To be paid you must file a Proof of Claim even if your claim is listed in the schedules filed by the
                        debtor. However, if this is a converted case, all claims filed under the initial chapter shall be deemed filed and need
                        not be refiled. Filing a Proof of Claim submits the creditor to the jurisdiction of the bankruptcy court, with
                        consequences a lawyer can explain. For example, a secured creditor who files a Proof of Claim may surrender
                        important nonmonetary rights, including the right to a jury trial. If the debtor is not represented by an attorney, you
                        must serve copies of the claim including all attachments, upon the debtor via U.S. Mail. See Local Rule 3002−1(E).
                        Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of
                        this notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor may file
                        a motion requesting the court to extend the deadline.
                        Claims should be filed using the Official B10 Proof of Claim form available at any bankruptcy clerk's office or on
                        the court's website at: www.flsb.uscourts.gov, and delivered or mailed to the clerk's office address listed on the front
                        of this notice. To receive acknowledgment of receipt by the clerk, enclose a copy of the claim and an adequate sized
                        stamped self addressed envelope. As an alternative filing method, any creditor with internet access may file a proof
                        of claim electronically and print a copy of the claim at the time of filing by using the electronic claims filing
                        program available on the court website: www.flsb.uscourts.gov. Do not include this notice with any filing you make
                        with the court.

Discharge of Debts      The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                        never try to collect the debt from the debtor. If you believe that the debtor is not entitled to a discharge under
                        Bankruptcy Code § 1328(f), you must file a motion objecting to discharge in the bankruptcy clerk's office by the
                        "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts" listed on the front
                        of this form. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code § 523(a)(2) or (4),
                        you must file a complaint in the bankruptcy clerk's office by the same deadline. The bankruptcy clerk's office must
                        receive the motion or the complaint and any required filing fee by that deadline. Writing a letter to the court or judge
                        is not sufficient. The discharge will not be issued until the Official Bankruptcy Form "Debtor's Certification of
                        Completion of Postpetition Instructional Course Concerning Personal Financial Management" is filed by the debtor.

Exempt Property         The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                        to creditors, even if the debtor's case is converted to chapter 7. The debtor must file a list of all property claimed as
                        exempt. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an objection
                        to that exemption. The bankruptcy clerk's office must receive the objection by the "Deadline to Object to
                        Exemptions" listed on the front side.

Bankruptcy Clerk's      Documents filed conventionally in paper may be filed at any clerk's office location. Documents filed may be viewed
Office                  in electronic format at any clerk's office public terminal (at no cost for viewing) or via PACER ON THE
                        INTERNET (charges apply). Case filing information and unexpired deadline dates can be obtained by calling the
                        Voice Case Information System: (866) 222−8029.

Creditor with a         Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address         case.
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                                            EXPLANATIONS (CONTINUED)                                                      FORM B9I (10/10/14)


Deadline to Object to    At the Confirmation Hearing on Contested Plan, the court will consider all timely objections to confirmation, and
Confirmation             any filed motions to dismiss or convert the case. Except for objections to confirmation based upon valuation of
                         collateral or objections to attorney fee claims, the court will not consider an objection at the confirmation hearing
                         unless it was raised orally or in writing at or before the meeting of creditors. Written objections must be filed and
                         served on the standing chapter 13 trustee and all parties of record at or before the meeting.

Uncontested              Under Local Rule 3015−3(B), if no objection to confirmation or objection to confirmation being held earlier than 20
Confirmation of a Plan   days after the meeting of creditors are timely raised at or before the meeting of creditors and the enclosed plan does
and Treatment of         not seek to value collateral pursuant to Local Rule 3015−3(A), and the debtor has filed the required Local Form
Debtor's                 "Debtor Certificate of Compliance and Request for Confirmation of Chapter 13 Plan" the plan may be confirmed as
PreConfirmation          unopposed at the meeting of creditors, the formal confirmation hearing will be cancelled and an order confirming
Payments                 uncontested plan will be entered. The debtor's pre−confirmation payments will be treated as provided under Local
                         Rule 3070−1(A).

Attorney Fee Claims:     Attorney Fee Applications and Objections to Attorney Fees shall be heard at the Confirmation Hearing on Contested
                         Plan.

Electronic Bankruptcy Parties can now choose to receive all notices (including attachments) served by the clerk's office electronically
Noticing              instead of via US mail. For information on or to register for this free service, contact the Bankruptcy Noticing
                      Center at ebn.uscourts.gov

Translating Services     Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
                         trustee, through a telephone interpreter service. Persons with communications disabilities should contact the U.S.
                         Trustee's office to arrange for translating services at the meeting of creditors.
